Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 1 of 6 PageID #:
                                    883
Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 2 of 6 PageID #:
                                    884
Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 3 of 6 PageID #:
                                    885
Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 4 of 6 PageID #:
                                    886
Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 5 of 6 PageID #:
                                    887
Case 5:05-cr-50066-RGJ-MLH   Document 222   Filed 04/18/06   Page 6 of 6 PageID #:
                                    888
